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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_________________________________________
                                          :
IN RE: AVANDIA MARKETING, SALES           :
PRACTICES AND PRODUCTS LIABILITY :          MDL No. 1871
LITIGATION                                : No. 07-md-01871-CMR
_________________________________________ :
                                          :
THIS DOCUMENT RELATES TO:                 : HON. CYNTHIA M. RUFE
                                          :
All Actions                               :
_________________________________________ :


                                         ORDER

   AND NOW, this ______ day of ________________ 2020, in accordance with the

Court’s Order of June 10, 2020 [Doc. No. 5308], approving the disbursement of the

$10,050,000 reserve funds to the members of the Plaintiffs’ Advisory Committee, and

upon consideration of the Twenty-Seventh Report and Recommendation of the Special

Master As to Allocation of the Reserve Funds in the Common Benefit Fund Created by

PTO No. 70, it is hereby ORDERED:

   1. The Report and Recommendation is APPROVED.

   2. The Avandia Common Benefit Fund Administrator is hereby ORDERED, no

later than ten days after entry of this Order, to disburse the reserve funds of $10,050,000

in the following amounts to the following members of the Plaintiffs’ Advisory

Committee:

       a.     Vance R. Andrus: $1,602,430.56;

       b.     Bryan F. Aylstock: $1,618,712.12;

       c.     Thomas P. Cartmell: $665,282.03;
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  d.    Stephen A. Corr: $1,591,905.69;

  e.    Paul R. Kiesel: $648,569.03;

  f.    Dianne M. Nast: $1,654,132.04;

  g.    Bill Robins III: $642,595.37; and

  h.    Joseph J. Zonies: $1,626,373.16.

It is so ORDERED.

                                       BY THE COURT:



                                       _____________________________
                                       CYNTHIA M. RUFE, J.




                                         2
